                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MOLLY KIRKPATRICK, individually                 )
and on behalf of all other                      )
similarly situated individuals,                 )
                                                )
                    Plaintiff,                  )
                                                )
                    v.                          )            1:16cv1088
                                                )
CARDINAL INNOVATIONS                            )
HEALTHCARE SOLUTIONS,                           )
               Defendant.                       )


                                        ORDER

      This case comes before the Court on “Defendant’s Motion to

Postpone      Consideration       of   Plaintiff’s       Motion     for   Conditional

Collective Action Certification Pending Limited Discovery” (Docket

Entry 30) (the “Discovery Motion”).                 Through the Discovery Motion,

Defendant seeks leave “to conduct pre-certification depositions of

Plaintiff     and the      seven   Opt-In      Plaintiffs,     as    well   as other

employees and managers whose testimony will be highly relevant to

the   issue    of   whether    this     case    is     suitable     for   conditional

certification.”          (Id. at 2.)      For the reasons that follow, the

Court will deny such leave without prejudice to Defendant’s right

to submit a more limited discovery proposal.

      At the conditional certification stage of a collective action

under the Fair Labor Standards Act (the “FLSA”), “‘the [C]ourt

determines      whether     the    putative         class   members’      claims   are

sufficiently similar to merit sending notice of the action to

possible members of the class.’”               Solais v. Vesuvio’s II Pizza &




      Case 1:16-cv-01088-TDS-LPA Document 38 Filed 02/21/17 Page 1 of 4
Grill, Inc., No. 1:15cv227, 2016 WL 1057038, at *6 (M.D.N.C. Mar.

14, 2016) (quoting Adams v. Citicorp Credit Servs., Inc., 93 F.

Supp. 3d 441, 453 (M.D.N.C. 2015)).       The conditional certification

standard requires only a “relatively modest factual showing” and

precludes “delv[ing] too deeply into the merits of the dispute.”

Id. at *6-7 (internal quotation marks omitted); accord Hart v. Crab

Addison, Inc., No. 13-cv-6458, 2015 WL 365785, at *2 (W.D.N.Y. Jan.

27, 2015) (explaining that “motions for preliminary certification

of FLSA collective actions are more easily supported [than class

certification   motions]   and   are    designed   to   be   made   prior to

discovery”).    As such, in evaluating a conditional certification

request, “‘the Court does not resolve factual disputes, decide

substantive     issues   on   the      merits,     or   make    credibility

determinations.’”    Solais, 2016 WL 1057038, at *6 (quoting Adams,

93 F. Supp. 3d at 454).

     Through the Discovery Motion, Defendant seeks leave to pursue

extensive discovery. (See, e.g., Docket Entry 30 at 3 (identifying

only “damages or other affirmative defenses” as issues outside the

scope of the requested discovery); Docket Entry 37 at 3 (arguing

that, if the Court permits the requested discovery and thereafter

“ultimately conditionally certifies the class, then much of the

discovery will have already been completed”).)1          However, “such a


     1 In Defendant’s view, such discovery will provide “a full
understanding of whether Plaintiffs are indeed similarly situated
to the other I/DD Care Coordinators” (Docket Entry 37 at 3).

                                    2




    Case 1:16-cv-01088-TDS-LPA Document 38 Filed 02/21/17 Page 2 of 4
steep plunge [into the merits of this dispute] is inappropriate for

such an early stage of a FLSA collective action.”                  Solais, 2016 WL

1057038, at *7 (internal quotation marks omitted).                    In light of

applicable conditional certification standards, including regarding

resolution of factual and credibility disputes, the Court finds

that       Defendant’s     requested    discovery        exceeds   the    scope    of

permissible pre-certification discovery.                 See, e.g., Fed. R. Civ.

P.    26    advisory   committee’s      notes,    2015    Amendment      (discussing

proportionality and relevance requirements in discovery).

       The Court will therefore deny Defendant’s discovery request,

but without prejudice to Defendant bringing another motion for more

limited discovery, as specified below.

       IT IS THEREFORE ORDERED that Defendant’s Discovery Motion

(Docket Entry 30) is denied without prejudice to Defendant filing,

on or before February 28, 2017, a motion requesting leave to

conduct limited written discovery.                 Defendant must attach the

desired discovery requests to its motion.                 On or before March 7,

2017, Plaintiff shall file a response to such motion, specifying

any    objections      Plaintiff   or    opt-in    Plaintiffs      assert    to   the

requested discovery.           Defendant may file a reply to any such

response by March 10, 2017.

       IT IS FURTHER ORDERED that the stay that the Court imposed on

January 23, 2017, regarding Defendant’s deadline to respond to

Plaintiff’s       Motion     for   FLSA       Conditional     Collective      Action


                                          3




       Case 1:16-cv-01088-TDS-LPA Document 38 Filed 02/21/17 Page 3 of 4
Certification and Notice (Docket Entry 26) will continue in effect

pending further order of the Court.

     This 21st day of February, 2017.

                                         /s/ L. Patrick Auld
                                            L. Patrick Auld
                                     United States Magistrate Judge




                                   4




    Case 1:16-cv-01088-TDS-LPA Document 38 Filed 02/21/17 Page 4 of 4
